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                      Exhibit 3
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                            UNITED STATES DISTRICT COURT
 9                 EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
10    U.S. BANK NATIONAL ASSOCIATION,                Case No. 1:24-cv-01105-KES-SAB
11                          Plaintiff,      [PROPOSED] ORDER GRANTING JOINT
                                            EX PARTE APPLICATION OF
12           vs.                            PLAINTIFF U.S. BANK NATIONAL
                                            ASSOCIATION AND RECEIVER DAVID
13    TOUCHSTONE PISTACHIO COMPANY, LLC; STAPLETON FOR FURTHER ORDER
      FARSHID ASSEMI; FARID ASSEMI; DARIUS REGARDING RECEIVER’S AUTHORITY
14    ASSEMI; NEEMA ASSEMI; MELISSA         TO ENGAGE AND COMPENSATE
      LAYNE; SONIA ROSEMARY ASSEMI;         RECEIVER’S COUNSEL
15    MARICOPA ORCHARDS, LLC; C&A FARMS,
      LLC; ACDF, LLC; CANTUA ORCHARDS,
16    LLC; LINCOLN GRANTOR FARMS, LLC;
      PANOCHE PISTACHIOS, LLC; ADAMS
17    GRANTOR LAND, LLC; GRANVILLE          Action Filed: September 17, 2024
      FARMS, LLC; SAGEBERRY FARMS, LLC;
18    GRADON FARMS, LLC; MANNING AVENUE
      PISTACHIOS, LLC; ASSEMI AND SONS,
19    INC.; WINSTON FARMS, LLC; FFGT FARMS,
      LLC; FAVIER RANCH, LLC; GRANTLAND
20    FARMS, LLC; WHITESBRIDGE FARMS, LLC;
      ACAP FARMS, LLC; BEAR FLAG FARMS,
21    LLC; COPPER AVENUE INVESTMENTS,
      LLC; WILLOW AVENUE INVESTMENTS,
22    LLC; ASHLAN & HAYES INVESTMENTS,
      LLC; ASSEMI BROTHERS, LLC,
23
                            Defendants.
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      [PROPOSED] ORDER GRANTING JOINT EX PARTE APPLICATION OF PLAINTIFF U.S. BANK NATIONAL
      ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER REGARDING RECEIVER’S
      AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB              Document 52-3      Filed 11/07/24     Page 3 of 4

 1             Upon due consideration of the Joint Ex Parte Application of Plaintiff U.S. Bank National

 2    Association and Receiver David Stapleton for Further Order Regarding Receiver’s Authority to

 3    Engage and Compensate Receiver’s Counsel (the “Application”)1 and the affidavits of David

 4    Stapleton and Joseph Dunn in support thereof, the Court hereby finds that:

 5             A.     On September 28, 2024, the Court entered an Order Appointing Receiver in the

 6    above-captioned matter at Dkt. 32 (the “Receivership Order”).

 7             B.     Paragraph 33 of the Receivership Order, as entered, authorized the Receiver to

 8    employ and compensate Receiver’s Counsel at a maximum hourly rate, subject to the conditions

 9    of other provisions of the Receivership Order.

10             C.     Good cause exists to enter a further order that authorizes the Receiver to engage

11    and compensate Proposed Counsel at an increased hourly rate cap in accordance with the

12    procedures set forth in the Receivership Order, notwithstanding the provisions of Local Rule

13    232(g) and Paragraph 33 of the Receivership Order.

14             Having found the foregoing,

15             IT IS ORDERED:

16             1.     Notwithstanding anything to the contrary in Paragraph 33 of the Receivership

17    Order:

18                        a. The Receiver may employ a law firm as Receiver’s legal counsel

19                           (“Receiver’s Counsel”) in this matter, as reasonably necessary to

20                           accomplish the purposes of this Order. Compensation to Receiver’s

21                           Counsel shall be based on an hourly rate not to exceed $975.00 per hour,

22                           subject to annual adjustment upon notice to the parties.

23                        b. Receiver’s Counsel shall be entitled to reimbursement of all reasonable

24                           costs and expenses incurred on behalf of the Receivership estate. The

25                           attorneys’ fees and costs incurred by Receiver’s Counsel may be included

26                           in the administrative costs and expenses to be paid to the Receiver and his

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       Capitalized terms used but not defined herein have the meanings ascribed to them in the
28    Application.
                                                        2
      [PROPOSED] ORDER GRANTING JOINT EX PARTE APPLICATION OF PLAINTIFF U.S. BANK NATIONAL
      ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER REGARDING RECEIVER’S
      AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB          Document 52-3        Filed 11/07/24      Page 4 of 4

 1                         professionals in accordance with paragraph 32 of the Receivership Order,

 2                         notwithstanding the provisions of Local Rule 232(g).

 3                     c. The Receivership Order constitutes authorization of employment of

 4                         Receiver’s Counsel, within the meaning of Local Rule 232(g), and no

 5                         further application or motion for such employment need be made by the

 6                         Receiver.

 7             2.   All other terms and conditions of the Receivership Order shall remain in full force

 8    and effect.

 9             IT IS SO ORDERED.

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11    Dated:
                                                          UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER GRANTING JOINT EX PARTE APPLICATION OF PLAINTIFF U.S. BANK NATIONAL
      ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER REGARDING RECEIVER’S
      AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
      Case No.: 1:24-1105-KES-SAB
